                dismiss, AND REMAND this matter to the district court for further
                proceedings consistent with this order.


                                                                                      , J.



                                                                                        J.
                                                           Douglas


                CHERRY, J., concurring:
                            For the reasons stated in the SFR Investments Pool 1, LLC v.
                U.S. Bank, N.A., 130 Nev 334 P.3d 408 (2014), dissent, I disagree
                that respondent lost its lien priority by virtue of the homeowners
                association's nonjudicial foreclosure sale. I recognize, however, that SFR
                Investments is now the controlling law and, thusly, concur in the
                disposition of this appeal.

                                                                   Cktut                J.
                                                              Cherry



                cc:   Hon. Ronald J. Israel, District Judge
                      The Dean Legal Group, Ltd.
                      Wright, Finlay &amp; Zak, LLP/Las Vegas
                      Eighth District Court Clerk




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